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12
                                    UNITED STATES DISTRICT COURT
13
                                   NORTHERN DISTRICT OF CALIFORNIA
14
                                              SAN JOSE DIVISION
15

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17 MAXIMILIAN KLEIN, et al.,                                 Case No. 5:20-cv-08570-LHK (VKD)

18                   Plaintiffs,                             Hon. Virginia K. DiMarchi

19           vs.                                             PLAINTIFFS’ OPENING BRIEF
                                                             REGARDING FACEBOOK, INC.’S
20 FACEBOOK, INC.,                                           AUGUST 20, 2021 CLAWBACK NOTICE
21
                     Defendant.                              FILED UNDER SEAL
22
     This Document Relates To: All Actions
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 1                                               INTRODUCTION

 2           Facebook has clawed back nine communications from an April 8-9, 2018 email thread,

 3 asserting attorney-client privilege. These communications do not appear, based on their unredacted

 4 context, to be attorney-client privileged. First, they do not appear to have been primarily made for

 5 the purpose of providing legal advice. Second, they do not appear to have been made confidentially

 6 between attorney and client, as a third-party public relations consultant was a recipient of each

 7 challenged communication. Finally, Facebook has, despite repeated inquiries, declined to offer

 8 specific facts to support its claim of non-waiver over the subject communications—each of which

 9 was previously produced in unredacted form outside this litigation, perhaps on several occasions.

10           Facebook, which bears the burden of proving each aspect of the claimed privilege, has not

11 carried its burden here with respect to any of the communications it seeks to withhold from

12 Plaintiffs. Facebook should be compelled to produce each clawed-back communication in

13 unredacted form.

14                                                BACKGROUND

15           On August 20, 2021, Facebook sent Plaintiffs a letter (Ex. A) and supplemental privilege log

16 (Ex. B) seeking to claw back twelve documents. The twelve documents Facebook clawed back—

17 all from a single email thread—include nine distinct communications that Facebook has now

18 redacted on the basis of alleged attorney-client privilege. In the three representative documents

19 submitted with this motion as Exhibits C-E, these redactions are labeled by Plaintiffs with “R1” to

20 “R9” in order to ease the Court’s understanding and review. Plaintiffs have not seen the actual

21 underlying communications that Facebook has now redacted but have requested that Facebook

22 produce Exhibits C-E, which comprise all nine challenged redactions, to the Court in unredacted

23 form for in camera review.

24

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26                                                                                                   . See Exs. C-

27 E.

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 5                                                         See Ex. C at PALM-002033286.

 6

 7

 8                     . See Ex. C at PALM-002033283-85 (redactions R2-R5).

 9

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12                                                               See id.

13

14                                                                                                        Ex. C at

15 PALM-002033283. None of these emails appear to request or provide legal advice.

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17                                                  . See Ex. C at PALM-002033282.

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20                                                                         Ex. C at PALM-002033282 (emphasis

21 added).

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25             Id.

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 3                                                           See Ex. C at PALM-002033281-88.

 4

 5                   See Ex. C at PALM-002033280-81.

 6

 7

 8            See, e.g., Ex. C at PALM-002033280

 9

10

11                                     id. at PALM-002033279

12

13                                Ex. D at PALM-002033773

14                                                        . It is unclear what is redacted in R7-R8 (in Ex. C)

15 and R9 (in Ex. D), but all information available to Plaintiffs indicates that public relations support

16 for Facebook as a business was the primary, and likely sole, purpose for these communications that

17 Facebook now claims are attorney-client privileged. See Ex. C at 2033279-80 (R7 and R8); Ex. D.

18 at PALM-002033773 (R9).

19           On September 10, 2021, Plaintiffs wrote a letter to Facebook challenging its clawback of the

20 redacted communications in Exs. C-E, including on the basis of waiver. See Ex. G. Facebook

21 responded that the “documents were produced to the FTC inadvertently” and that Facebook had

22 “also clawed back the documents from the FTC.” See Ex H. On October 6, 2021, the parties met

23 and conferred, and on October 14, they submitted a joint discovery letter brief. See Ex. I. On October

24 26, the Court ordered briefing on the parties’ privilege dispute regarding Facebook’s August 20,

25 2021 clawback. On November 4, 2021, in response to an email from Plaintiffs, Facebook made

26 representations regarding its contention that Rebecca Hahn of The OutCast Agency—a recipient of

27 each clawed-back communication—

28                      See Ex. J.

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 1                                                 ARGUMENT

 2           Facebook asserts that nine redacted communications contained in twelve clawed-back

 3 documents are attorney-client privileged.1 “The attorney-client privilege protects confidential

 4 communications between attorneys and clients, which are made for the purpose of giving legal

 5 advice.” United States v. Sanmina Corp., 968 F.3d 1107, 1116 (9th Cir. 2020) (cleaned up). Under

 6 Ninth Circuit law, “an eight-part test determines whether information is covered by the attorney-

 7 client privilege:”

 8                   (1) Where legal advice of any kind is sought (2) from a professional
                     legal adviser in his capacity as such, (3) the communications relating
 9                   to that purpose, (4) made in confidence, (5) by the client, (6) are at
                     his instance permanently protected (7) from disclosure by himself
10
                     or by the legal adviser, (8) unless the protection be waived.”
11
     United States v. Ruehle, 583 F.3d 600, 607 (9th Cir. 2009) (cleaned up); see also Sanmina Corp.,
12
     968 F.3d at 1116 (reciting same test). “The party asserting the privilege bears the burden of proving
13
     each essential element.” Ruehle, 583 F.3d at 607. Because the attorney-client privilege “contravenes
14
     the fundamental principle that the public has a right to every man’s evidence, courts construe it
15
     narrowly to serve its purposes[.]” Wadler v. Bio-Rad Lab’ys, Inc., 212 F. Supp. 3d 829, 850 (N.D.
16
     Cal. 2016) (cleaned up). Here, Facebook has not—as it is required to do—satisfied at least three
17
     essential elements necessary to establish that these clawed-back communications are privileged.
18
             First, Facebook has not shown—and cannot show—that the communications it now claims
19
     are attorney-client privileged were made “for the purpose of giving legal advice.” Based on the
20
     unredacted portions of the clawed-back documents and the recipients of the allegedly privileged
21
     communications, it is apparent that the clawed-back communications pertained to a public relations
22
     fiasco. What is not apparent—nor even, as far as Plaintiffs can tell, possible—is that the email
23
     threads in question primarily involve confidential requests for, and ultimately the confidential
24
     provision of, legal advice by Facebook attorneys to their corporate client. Under Ninth Circuit law,
25
     this means the communications in question, even though they involve Facebook attorneys, are not
26

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28     Facebook has not asserted work product protection or any other privilege over the twelve
     clawed-back documents.
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 1 attorney-client privileged. See In re Grand Jury, 13 F.4th 710, 713-14 (9th Cir. 2021) (adopting

 2 “primary purpose” test to evaluate claims of privilege where attorney-client communications “might

 3 have more than one purpose”).

 4           Second, Facebook has not shown that the communications it now claims are attorney-client

 5 privileged were in fact made solely and confidentially between attorney and client. “[A] party

 6 asserting the attorney-client privilege has the burden of establishing the relationship and the

 7 privileged nature of the communication.” Ruehle, 583 F.3d at 607 (emphasis in original). But every

 8 communication that Facebook now claims is attorney-client privileged was made to a third-party

 9 public relations consultant, Rebecca Hahn of The OutCast Agency.

10

11

12                                                   See Ex. J at 1. But that does not help with the actual

13 privilege claim here. Either the redacted communications were primarily made for the purpose of

14 giving confidential legal advice (in which case Ms. Hahn was a third party, as Facebook makes no

15 claim she was functionally part of its legal team), or the redacted communications were made (as

16 seems evident from their unredacted context) principally for non-legal reasons—i.e.,

17

18                                                                                                              but

19 accepting its claim on that point means that it loses on the privilege issue: Ms. Hahn’s presence on

20 every redacted communication lays bare the true nature of what Facebook seeks to claw back.

21           Third, Facebook has not established that its past production(s) of the communications it now

22 claims are privileged did not irrevocably waive privilege over these communications. As with every

23 other aspect of the Ninth Circuit test for attorney-client privilege, it is the privilege proponent’s

24 burden to establish non-waiver. Facebook has not done so here. It has claimed that its past

25 production(s) of the communications in question was or were “inadvertent,” but to this day,

26 Facebook has declined to tell Plaintiffs even how many times the clawed-back communications were

27 produced in unredacted form outside of this litigation—let alone when, to whom, and under what

28 circumstances. All Plaintiffs know at this point is that Facebook produced each challenged

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 1 communication at least one other time, at least two years ago, and outside the context of any litigation

 2 (let alone this one). And Facebook apparently never sought to claw the information back from

 3 anyone until mid-2021. To meet its burden to establish non-waiver under Ninth Circuit law,

 4 Facebook must explain to whom it previously produced the challenged communications; when; and

 5 in what context. Facebook has failed to do so.

 6 I.        Facebook Cannot Establish That The Redacted Communications Were Primarily

 7           Made For The Purpose Of Giving Legal Advice

 8           Each of the nine clawed-back communications (R1-R9 in Plaintiffs’ Exs. C-E) appears in

 9 the midst of a lengthy email thread devoted principally—and as far as Plaintiffs can discern from its

10 public portions, entirely—to

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14                                                                            See Ex. C at PALM-002033287-

15 88.

16

17                                    . Id. at PALM-002033286-87.

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22                                                                           . See id. at PALM-002033279-88;

23 Ex. D at PALM-002033773.

24           On April 11, 2018—forty minutes after TechCrunch published a story titled “Zuckerberg

25 claims competition from ‘8 social apps’, but Facebook owns 3,” Ex. K,

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 1                                    Ex. L at PALM-002033644-45).)2

 2

 3                              Id. at PALM-002033644.

 4           Given all the above the purpose of the entire email thread in Exs. C-E—and every

 5 communication therein—was plainly

 6                                     This is not a legal issue, there do not appear (based on the information

 7 available to Plaintiffs) to be within Exs. C-E any requests for confidential legal advice—as opposed

 8 to business/communications inquiries to lawyers with historical or contextual knowledge about

 9 relevant issues.

10

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                                        3
12                                          “
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14                                                                                                                   )

15 all indicate a non-legal purpose to the communications in Exs. A-C. See, e.g., In re Vioxx Prod.

16 Liab. Litig., 501 F. Supp. 2d 789, 809 (E.D. La. 2007) (“primary purpose” of communications

17 “addressed to both lawyers and non-lawyers for review, comment, and approval” was “not to obtain

18 legal assistance”); United States v. Chevron Corp., 1996 WL 444597, at *2 (N.D. Cal. May 30,

19 1996); United States v. Int’l Bus. Machines Corp., 66 F.R.D. 206, 213 (S.D.N.Y. 1974).

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21

22

23            , Ex. L at PALM-002033644,

24

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     2
     Plaintiffs do not challenge the non-overlapping redaction in Ex. K, as the Court has ruled such a
26 challenge untimely.
   3
     Ex. C at PALM-002033287 (emphasis added).
27 4 Id. at PALM-002033286.
   5
28 6 Id. (emphasis added).
     Id. at PALM-002033281 (emphasis added).
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 1                   id.—indicates that the actual thread, lawyer communications and all, was actually

 2 about a                 , and not anything else. See, e.g., Breuder v. Bd. of Trustees of Cmty. Coll. Dist.

 3 No. 502, 2021 WL 4283464, at *7 (N.D. Ill. Sep. 21, 2021) (noting that “general public relations

 4 work . . . falls outside the scope of the narrowly construed attorney-client privilege” and rejecting

 5 privilege claim where party did not establish that public relations consultants were “‘necessary’ to

 6 enable counsel to provide legal advice”).

 7           Given that every redacted communication appears in an email thread solely directed toward

 8 a                 , and not toward any sort of legal proceeding, question, or investigation, it is possible

 9 (even likely) that there is no legal purpose at all to one or more of the clawed-back communications.

10 The mere inclusion of in-house counsel on these documents does not transform their non-legal

11 nature. See Meade v. Gen. Motors, LLC, 250 F. Supp. 3d 1387, 1393 (N.D. Ga. 2017) (“The number

12 of lawyers or non-lawyers to whom a communication was disseminated is not dispositive and a

13 corporation’s choices of means and format in the communications between their lawyers and

14 employees cannot limit their adversaries’ right of discovery of what otherwise is non-privileged and

15 discoverable.” (cleaned up)); IP Co., LLC v. Cellnet Tech., Inc., 2008 WL 3876481, at *3 (N.D. Cal.

16 Aug. 18, 2008). Nor does Facebook’s casual use of                           Ex. C at PALM-002033282, as

17 confirmed by Facebook’s choice not to redact information under this moniker in the very documents

18 at issue. See, e.g., SPS Techs., LLC v. Briles Aerospace, Inc., 2020 WL 3050777, at *5 n.7 (C.D.

19 Cal. Feb. 18, 2020) (“[I]nformation does not become privileged merely by marking it as such.”);

20 United States ex rel. Baklid-Kunz. v. Halifax Hosp. Med. Ctr., 2012 WL 5415108, at *6 (M.D. Fla.

21 Nov. 6, 2012). And even for those documents that reflect communications from Facebook’s in-

22 house counsel, “[i]t is not enough that a document was created by attorneys if the information that

23 it contains was not made for the purpose of facilitating the rendition of legal advice or services,”

24 i.e., “the sort of advice that can be rendered only by consulting the legal authorities.” In re Domestic

25 Airline Travel Antitrust Litig., 2020 WL 3496748, at *6 (D.D.C. Feb. 25, 2020) (emphasis added).

26           Facebook certainly has not met its burden to establish such a purpose from the privilege log

27 it provided (Ex. B), nor from the overall context of the clawed-back documents (Exs. C-E)—and

28 under Ninth Circuit law, it is Facebook’s burden to establish that both “the [attorney-client]

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 1 relationship and the privileged nature of the communication.” Ruehle, 583 F.3d at 607 (emphasis in

 2 original). Moreover, to the extent Facebook is able to establish any connection to an ostensible legal

 3 purpose in the redacted communications, the Ninth Circuit demands more: “where an attorney’s

 4 advice may integrally involve both legal and non-legal analysis,” the Ninth Circuit applies the

 5 “primary purpose test,” in which “courts look at whether the primary purpose of the communication

 6 is to give or receive legal advice as opposed to business or tax advice.” In re Grand Jury, 13 F.4th

 7 at 713-14. Given the unambiguously non-legal context of the entire thread—from start

 8                   to finish

 9           —Facebook has failed to show that the redacted comments by attorneys throughout were

10 “primarily” made for the purpose of giving legal advice, as required under Ninth Circuit law.7

11 II.       Each Challenged Communication Was Made To A Third Party Who Was Not A

12           Functional Employee With Respect To The Claimed Privilege

13           Next, even if one or more of the redacted communications was made primarily for the

14 purpose of providing legal advice (which seems unlikely based on the information available to

15 Plaintiffs), there is a separate problem with Facebook’s claims of attorney-client privilege over the

16 redacted communications in Exs. C-E: each clawed-back communication was made to a third-party

17 press consultant, Rebecca Hahn of The OutCast Agency. See Ex. C at R1-R8; Ex. D at R9.

18           “The transmission of a communication to a party outside the attorney-client relationship

19 destroys the confidentiality of the communication and therefore the privilege may not be invoked

20 as to that communication.” Schaeffer v. Gregory Village Partners, 78 F. Supp. 3d 1198, 1202 (N.D.

21 Cal. 2015). Here, each clawed-back communication was sent to Ms. Hahn—a person who was not

22 a Facebook employee in April 2018 (or ever). In order to claim attorney-client privilege over the

23
     7
24     The outcome does not change regardless of whether this Court inquires if “the primary purpose”
     or “a primary purpose” of each redacted communication was to provide confidential legal advice.
25   See In re Grand Jury, 13 F.4th at 716-17 (declining to choose between “the primary purpose” or “a
     primary purpose” because “the universe of documents in which the [‘a primary purpose’] test would
26   make a difference is limited . . . [and] would only change the outcome of a privilege analysis in truly
     close cases, like where the legal purpose is just as significant as a non-legal purpose”); cf. Ruehle,
27   583 F.3d at 607 (“The fact that a person is a lawyer does not make all communications with that
28   person privileged. Because it impedes full and free discovery of the truth, the attorney-client
     privilege is strictly construed.” (cleaned up)).
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 1 See Graf, 610 F.3d at 1157-59 (reviewing evidence and findings of fact relating to functional

 2 employee determination); Schaeffer, 78 F. Supp. 3d at 1200-02, 1203-05 (evaluating evidence

 3 relating to functional employee determination). On this score, Plaintiffs note that Ms. Hahn’s own

 4 public statements about her work in the years immediately preceding 2018 indicate that she worked

 5 out of (and indeed founded) The OutCast Agency’s Los Angeles office, and “worked with brands

 6 across diverse industries including: Andreessen Horowitz, Facebook, Fifth Wall Ventures, Intuit

 7 TurboTax, Instagram, Lyft, Mint.com, the NFL, Oculus, and Tanium.” Ex. M at 1.

 8           Based on Facebook’s assertions about Ms. Hahn, and Ms. Hahn’s own statements about her

 9 work while at The OutCast Agency, Ms. Hahn does not closely resemble the consultants found to

10 be “functional employees” for privilege purposes in Graf and in Schaeffer. For example, in Graf,

11 “[e]vidence at trial . . . showed Graf was heavily involved in all facets of the corporation’s

12 operations.” 610 F.3d at 1153. Although ostensibly a “consultant,” there was evidence that the only

13 reason Graf was not hired formally as a company employee was that the state of California had

14 banned him from insurance work, which was the company’s business. Id.; see also Schaeffer, 78 F.

15 Supp. 3d at 1203 (discussing Graf). This stands in contrast to Ms. Hahn, who was apparently a

16 consultant in the truest sense of the word—working at (and out of) a third-party public relations

17 agency on behalf of nearly a dozen major accounts, of which Facebook was one. See Ex. M at 1;

18 Universal Standard Inc. v. Target Corp., 331 F.R.D. 80, 90 (S.D.N.Y. 2019) (“functional equivalent

19 exception” inapplicable where third party lacked “independent decision-making authority, primary

20 responsibility, and . . . had numerous other customers” (emphasis added and cleaned up)); In re

21 Restasis (Cyclosporine Ophthalmic Emulsion) Antitrust Litig., 352 F. Supp. 3d 207, 215 (E.D.N.Y.

22 2019) (consultants not “functional employees” where they “likely served as consultants for other

23 companies”); Lynx Sys. Devs., Inc. v. Zebra Enter. Sols. Corp., 2018 WL 1532614, at *4 (D. Mass.

24 Mar. 28, 2018) (consultants not functional employees where “not obligated to work exclusively for

25 Zebra”); Durling v. Papa John’s Int’l, Inc., 2018 WL 557915, at *5 (S.D.N.Y. Jan. 24, 2018).

26           In Schaeffer—and in several cases analyzed by the Court in that decision—the consultants

27 found to be functional employees with respect to allegedly privileged communications had specific

28 legal bents to their responsibilities at the corporations in question. For example, in In re Bieter Co.,

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 1 16 F.3d 929 (8th Cir. 1994), “the consultant was intimately involved in the subject matter of

 2 litigation,” Schaeffer, 78 F. Supp. 3d at 1203; in In re Copper Market Antitrust Litigation, 200 F.R.D

 3 213 (S.D.N.Y. 2001), “the court found that the privilege extended to litigation-related

 4 communications to and from a public relations firm a corporation hired to respond to actual and

 5 anticipated litigation” Schaeffer, 78 F. Supp. 3d at 1203; and in Schaeffer itself, the consultant in

 6 question was hired amidst potential litigation and “acted as the public face of the company and

 7 provided information to [the company’s] legal staff that was useful and necessary to evaluate legal

 8 strategy for the company going forward,” id. at 1204. As a result, the consultant “acted as [the

 9 company’s] functional employee for the purpose of the attorney-client privilege.” Id.

10           On this last score, Ms. Hahn’s responsibilities and role stand in contrast to the cases cited

11 and applied in Schaeffer, and to Schaeffer itself.

12                                                                                                         See Ex.

13 J.                                                                regarding Ms. Hahn’s role in Facebook’s

14 legal strategy, or on Facebook’s legal team. See id.

15                                                                                          , which explains her

16 presence throughout the decidedly non-legal communications in Exs. C-E. This is similar to the

17 Calvin Klein case discussed in Schaeffer (see Calvin Klein Trademark Trust v. Wachner, 198 F.R.D.

18 53 (S.D.N.Y. 2000)), in which “the communications at issue appeared on their face to be routine

19 suggestions from a public relations firm as to how to put the ‘spin’ most favorable to Calvin Klein

20 on successive developments in the ongoing litigation.” Schaeffer, 78 F. Supp. 3d at 1204 (cleaned

21 up). “The [Calvin Klein] court found that few, if any of the documents in issue appear to contain or

22 reveal confidential communications from the underlying client made for the purpose of obtaining

23 legal advice.” Id. (cleaned up).

24           So too here: even taking Facebook at its word, there is no evidence that Ms. Hahn was

25 functionally part of Facebook’s legal team, and thereby could be privy to confidential attorney-

26 client communications for a legal purpose—and this makes perfect sense given the overall context

27 of the challenged communications as non-legal in nature. See, e.g., Planned Parenthood Fed’n of

28 Am., Inc. v. Ctr. For Med. Progress, 2019 WL 1950381, at *6 (N.D. Cal. May 1, 2019) (“the

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 1 dispositive question [for the functional employee inquiry] is the consultant’s relationship to the

 2 company and whether by virtue of that relationship she possesses information about the company

 3 that would assist the company’s attorneys in rendering legal advice” (emphasis added and cleaned

 4 up)); LG Elecs. U.S.A., Inc. v. Whirlpool Corp., 661 F. Supp. 2d 958, 964 (N.D. Ill. 2009) (not

 5 “functional equivalent” of employees where consultants’ work not “necessary to assist counsel in

 6 rendering legal advice”).

 7                                                                            . Ms. Hahn’s—a non-member of

 8 the legal team, functional or otherwise—

 9          simply underscores that Exs. C-D do not contain any confidential attorney-client

10 communications made primarily for the purpose of legal advice.

11 III.              Facebook Previously Produced The Challenged Communications, And Has

12                   Offered No Facts To Establish Its Past Production Was Inadvertent

13           Each of the challenged communications was previously produced in unredacted form at least

14 once, outside the context of this litigation. For example, Facebook admittedly produced each of the

15 challenged communications to the Federal Trade Commission in 2019 as part of a civil investigation.

16 Ordinarily, such a disclosure would waive privilege over the produced information. See In re Pacific

17 Pictures Corp., 679 F.3d 1121 (9th Cir. 2012); see also Church & Dwight Co. v. Mayer Lab’ys,

18 Inc., 2011 WL 6119146, at *1 (N.D. Cal. Dec. 8, 2011) (prior production to FTC waived privilege

19 in subsequent private antitrust litigation); United States v. Paulus, 2021 WL 4494607, at *7 (E.D.

20 Ky. Sep. 30, 2021) (determining that production of documents to government in prior investigation

21 “resulted in waiver of both attorney-client and work product privileges” in subsequent litigation,

22 and Rule 502(d) clawback order entered in subsequent litigation did not “retroactively limit the

23 effect of [producing party’s] disclosure” of documents in prior investigation because 502(d) order

24 “cannot govern an entirely separate disclosure that occurred in a different proceeding.”).

25           It is Facebook’s burden under Ninth Circuit law to establish (not just assert) non-waiver.

26 See, e.g., Ruehle, 583 F.3d at 607-08 (“unless the protection be waived” is one of the eight essential

27 elements of attorney-client privilege, and “[t]he party asserting the privilege bears the burden of

28 proving each essential element” (emphasis added)). However, despite months of requests by

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 1 Plaintiffs, Facebook has declined to offer any specific facts regarding its past production(s) of the

 2 challenged communications. See Ex. J at 1-7; Ex. N; Ex. O. Facebook has refused to even identify

 3 to Plaintiffs (i) every entity Facebook previously produced these communications to; (ii) the dates

 4 and other circumstances of those production(s); (iii) when and how a clawback communication was

 5 made to those other entities; (iv) the circumstances of Facebook’s review prior to previously

 6 producing the communications in question; or (v) any specific facts at all to support Facebook’s

 7 claim that its previous production(s) of the information Facebook now claims privilege over was (or

 8 were) “inadvertent.” See id. This has made it impossible for Plaintiffs to actually rebut (or even

 9 evaluate) Facebook’s claim of inadvertent production in this brief—even though Plaintiffs

10 specifically asked for this information in order to draft this brief, most recently on November 2,

11 2021. See Ex. J at 3. And unless Facebook offers actual evidence on inadvertence—including at

12 minimum the basic facts outlined above—in its submission to the Court, it will have run afoul of its

13 evidentiary burden to establish non-waiver over the contested communications. See Ruehle, 583

14 F.3d at 607-08; Viamedia, Inc. v. Comcast Corp., 2017 WL 2834535, at *3-*7 (N.D. Ill. Jun. 30,

15 2017) (analyzing evidentiary support for claim of inadvertence); Coles Wexford Hotel, Inc. v.

16 UPMC and Highmark, Inc., 2016 WL 462856, at *1-*3 (W.D. Pa. Feb. 8, 2016) (same); Fed. R.

17 Evid. 502(b).

18                                                CONCLUSION

19           For the foregoing reasons, the redacted communications in Exs. C-E are not attorney-client

20 privileged, and Facebook should be compelled to produce each of the documents listed in Ex. B to

21 Plaintiffs in fully unredacted form.

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 1                                  ATTESTATION OF BRIAN J. DUNNE

 2           This document is being filed through the Electronic Case Filing (ECF) system by attorney

 3 Brian J. Dunne. By his signature, Mr. Dunne attests that he has obtained concurrence in the filing

 4 of this document from each of the attorneys identified on the caption page and in the above signature

 5 block.

 6
             Dated: November 8, 2021                   By     /s/ Brian J. Dunne
 7
                                                                   Brian J. Dunne
 8

 9

10                                       CERTIFICATE OF SERVICE

11           I hereby certify that on this 8th day of November 2021, I electronically transmitted the
12 foregoing document to the Clerk’s Office using the CM/ECF System, causing the document to be

13 electronically served on all attorneys of record.

14
                                                       By     /s/ Brian J. Dunne
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